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Attorneys for Defendant Harlan Hale


                       IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,
                                                    Case No. CR-19-158-S-DCN-3
          Plaintiff,

 vs.                                                SECOND NOTICE OF INTENT TO
                                                    PLEAD GUILTY
 HARLAN HALE,

          Defendant.


TO:    CLERK OF THE COURT, UNITED STATES DISTRICT COURT
       BART M. DAVIS, UNITED STATES ATTORNEY
       JOSHUA D. HURWIT, ASSISTANT UNITED STATES ATTORNEY

       COMES NOW, the Defendant, Harlan Hale, by and through his counsel of record,

Randall S. Barnum, and respectfully notifes the Court that it is his intention to plead guilty as

charged to all charges listed in the Indictment. Currently, there is no signed plea agreement with

the government. Regardless of whether Mr. Hale enters into a written plea agreement, it is his

intention to waive his right to a jury trial and proceed forward with a change of plea as to the

charges listed in the Indictment.

       Accordingly, Mr. Hale respectfully requests that the Court vacate his current trial date of


SECOND NOTICE OF INTENT TO PLEAD GULTY- 1
and set a date for his change of plea.



       DATED this 8th day of December, 2020.

                                              BARNUM LAW, PLLC


                                         By      /s/
                                         Randall S. Barnum, Of the Firm
                                         Attorneys for Defendant Halan Hale


                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 8th day of December, 2020, I served a true and correct
copy of the foregoing SECOND NOTICE OF INTENT TO PLEAD GUILTY upon each of
the following individuals by causing the same to be delivered by the method and to the addresses
indicated below:

         Bart M. Davis                                ____   U.S. Mail, postage prepaid
         United States Attorney                       ____   Hand-Delivered
         Joshua D. Hurwit                             ____   Overnight Mail
         Assistant United States Attorney             ____   Facsimile
         District of Idaho                              x    ECF
         1290 West Myrtle Street, Suite 500                  Email
         Boise, ID 83702




                                              ________/s/_________________________
                                              Randall S. Barnum




SECOND NOTICE OF INTENT TO PLEAD GULTY- 2
